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                                        January 17, 2020
1156 15th Street NW, Suite 1020
Washington, DC 20005
(202) 795-9300 | www.rcfp.org
Bruce D. Brown, Executive Director
                                        Honorable Martin C. Carlson
                                        Ronald Reagan Federal Bldg. & U.S. Courthouse
STEERING COMMITTEE
STEPHEN J. ADLER
                                        228 Walnut Street
Reuters
J. SCOTT APPLEWHITE
                                        Harrisburg, PA 17101
The Associated Press
WOLF BLITZER
CNN                                     RE: Julie Ellen Wartluft, et al., v. The Milton Hershey School and School Trust, et
DAVID BOARDMAN
Temple University
                                        al., Case No. 1-16-cv-02145-JEJ
MASSIMO CALABRESI
Time Magazine
MANNY GARCIA                            Dear Judge Carlson,
USA Today Network
EMILIO GARCIA-RUIZ
The Washington Post
JOSH GERSTEIN
                                        I am counsel for Intervenor The Philadelphia Inquirer, PBC (“The Inquirer”), in the
Politico                                above-captioned case. I write to provide Your Honor with the enclosed waivers
ALEX GIBNEY
Jigsaw Productions                      executed by Plaintiffs Frederick Bartels and Julie Wartluft in response to arguments
SUSAN GOLDBERG
National Geographic                     made by Defendants concerning the application of the Health Insurance Portability
JAMES GRIMALDI
The Wall Street Journal
                                        and Accountability Act, Pub. L. No. 104-191, 100 Stat. 2548 (codified as amended in
LAURA HANDMAN                           scattered sections of U.S.C.) to judicial documents currently sealed in this matter.
Davis Wright Tremaine
DIEGO IBARGÜEN                          These waivers, executed on January 14, 2020, were filed as Exhibit A to the Reply
Hearst
KAREN KAISER
                                        Brief in Support of The Inquirer’s Motion to Unseal Judicial Records, ECF 308, (the
The Associated Press                    “Second Motion to Unseal”). The Second Motion to Unseal filed by The Inquirer has
DAVID LAUTER
Los Angeles Times                       not been referred to Your Honor. Because these waivers are also relevant to
DAHLIA LITHWICK
Slate                                   Defendants’ arguments in opposition to the motion to intervene and unseal judicial
MARGARET LOW
The Atlantic
                                        records filed by The Inquirer on June 20, 2019, which is currently pending before
JANE MAYER                              Your Honor, The Inquirer wanted to bring them to your attention.
The New Yorker
COLLEEN MCCAIN NELSON
The McClatchy Company
MAGGIE MULVIHILL
                                        In compliance with Local Rule 5.2, the Social Security Number present on both
Boston University
JAMES NEFF
                                        waivers has been redacted.
The Philadelphia Inquirer
NORMAN PEARLSTINE
The Los Angeles Times
CAROL ROSENBERG
The New York Times
                                                                                     Respectfully submitted,
THOMAS C. RUBIN
Quinn Emmanuel
CHARLIE SAVAGE                                                                       /s/ Katie Townsend
The New York Times
BEN SMITH
                                                                                     Katie Townsend
BuzzFeed
JENNIFER SONDAG
                                                                                     Counsel for Intervenor
Bloomberg News                                                                       The Philadelphia Inquirer, PBC
ADAM SYMSON
The E.W. Scripps Company
PIERRE THOMAS
ABC News
                                        Enclosures
SAUNDRA TORRY
Freelance
VICKIE WALTON-JAMES                     Cc: All counsel via CM/ECF
NPR
JUDY WOODRUFF
PBS/The NewsHour

SENIOR ADVISORS
CHIP BOK
Creators Syndicate
JOHN C. HENRY
Freelance
TONY MAURO
National Law Journal, ret.
ANDREA MITCHELL
NBC News
PAUL STEIGER
ProPublica

Affiliations appear only
for purposes of identification
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